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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

INTELLECTUAL VENTURES, I, LLC,                *
INTELLECTUAL VENTURES, II, LLC,               *
                                              *
                Plaintiffs,                   *
                                              *
     v.                                       *       Civil Action No. 16-cv-10860-IT
EMC CORPORATION et al..,                      *
                                              *
                Defendants.                   *


                               AMENDED SCHEDULING ORDER

 TALWANI, D.J.

        This Scheduling Order is intended to provide a reasonable timetable for discovery and
 motion practice in order to help ensure a fair and just resolution of this matter without undue
 expense or delay.

I. Timetable for Discovery and Motion Practice

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rules 16.1(f)
        and 16.6, it is hereby ORDERED that:

   1. Preliminary Disclosures.

       a.       Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) and
                by this court’s Notice of Scheduling Conference must be completed by August
                17, 2016.

       b.       Preliminary Infringement Disclosure. No later than September 2, 2016, the
                patentee shall serve and file preliminary disclosure of the claims infringed.
                The patentee shall specify which claims are allegedly infringed and identify
                the accused product(s) or method(s) that allegedly infringe those claims. The
                patentee shall also specify whether the alleged infringement is literal or falls
                under the doctrine of equivalents. If the patentee has not already done so, the
                patentee shall produce all documents supporting its contentions and/or identify
                any such supporting documents produced by the accused infringer. Such
                disclosures may be amended and supplemented up to 30 days after the date of
                the court’s ruling on claim construction. After that time, such disclosures may
                be amended or supplemented only by leave of court, for good cause shown.

       c.       Preliminary Invalidity and Non‐Infringement Disclosures. No later than
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            December 16, 2016 the accused infringer shall serve and file Preliminary
            Invalidity and Non-Infringement Contentions. The accused infringer shall
            identify prior art that anticipates or renders obvious the identified patent
            claims in question and, for each such prior art reference, shall specify whether
            it anticipates or is relevant to the obviousness inquiry. If applicable, the
            accused infringer shall also specify any other grounds for invalidity, such as
            indefiniteness, best mode, enablement, or written description. If the accused
            infringer has not already done so, the accused infringer shall produce
            documents relevant to the invalidity defenses and/or identify any such
            supporting documents produced by the patentee. Further, if the accused
            infringer has not already done so, the accused infringer shall produce
            documents sufficient to show operation of the accused product(s) or method(s)
            that the patentee identified in its preliminary infringement disclosures. Such
            disclosures may be amended and supplemented up to 60 days after the date of
            the court’s ruling on claim construction. After that time, such disclosures may
            be amended or supplemented only by leave of court, for good cause shown.

2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave
   to add new parties or to amend the pleadings to assert new claims or defenses may be
   filed after 30 days before the Markman Hearing.

3. Claim Construction Proceedings.

   a.       No later than April 14, 2017, the parties shall simultaneously exchange a
            proposed list of claim terms to be construed.

   b.       No later than May 12, 2017, the parties shall simultaneously exchange and file
            preliminary claim construction briefs. Each brief shall contain a list of terms
            construed, the party’s proposed construction of each term, and evidence and
            argument supporting each construction. Absent leave of court, preliminary
            claim construction briefs shall be limited to 25 pages.

   c.       No later than June 2, 2017, parties shall simultaneously exchange and file reply
            briefs. Absent leave of court, reply briefs shall be limited to 15 pages.

   d.       No later than June 16, 2017, the parties shall finalize the list of disputed terms
            for the court to construe. The parties shall prepare and file a joint claim
            construction and prehearing statement (hereafter the “joint statement”) that
            identifies both agreed and disputed terms.

               i. The joint statement shall note the anticipated length of time necessary for
                  the claim construction hearing and whether any party proposes to call
                  witnesses, including a statement that such extrinsic evidence does not
                  conflict with intrinsic evidence.

               ii. The joint statement shall also indicate whether the parties will present

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                   tutorials on the relevant technology, the form of such tutorials, and the
                   timing for such tutorials in relation to the claim construction hearing. If
                   the parties plan to provide tutorials in the form of briefs, declarations,
                   computer animations, slide presentations, or other media, the parties shall
                   exchange such materials seven days before the claim construction
                   hearing. In the alternative, the parties may present tutorials through
                   presentations by the attorneys or experts at the claim construction
                   hearing.

               iii. The joint statement shall include a proposed order in which parties will
                    present their arguments at the claim construction hearing, which may be
                    term-by-term or party-by-party, depending on the issues in the case.

               iv. The joint statement shall limit the number of claim terms to be construed
                   and shall prioritize the disputed terms in order of importance. The Court
                   suggests that, ordinarily, no more than 10 terms per patent be identified
                   as requiring construction.

               v. The joint statement shall include a joint claim construction chart, noting
                  each party’s proposed construction of each term, and supporting
                  evidence.

4. The Claim Construction Hearing (a.k.a. “Markman” Hearing). The Court shall
   schedule a hearing date promptly after the filing of the joint claim construction
   statement.

5. Fact Discovery.

   a.       Written Discovery. Written discovery (requests for production of documents,
            interrogatories, and requests for admission) shall be served by 60 days after the
            court’s ruling on claim construction.

   b.       Fact Discovery. Fact discovery must be completed by 90 days after the court’s
            ruling on claim construction.

6. Status Conference. A status conference will be held on December 15, 2016 at 2:30.

7. Expert Discovery.

   a.       Plaintiffs’ trial experts must be designated, and the information contemplated by
            Fed. R. Civ. P. 26(a)(2) must be disclosed, by 30 Days after the close of fact
            discovery.

   b.       Defendant’s trial experts must be designated, and the information contemplated by
            Fed. R. Civ. P. 26(a)(2) must be disclosed, by 60 days after the close of fact

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            discovery.

   c.       Expert discovery must be completed by 90 days after the close of fact discovery.


                                    Procedural Provisions

1. Extension of Deadlines. Motions to extend or modify deadlines will be granted only
   for good cause shown. All motions to extend shall contain a brief statement of the
   reasons for the request; a summary of the discovery, if any, that remains to be taken;
   and a specific date when the requesting party expects to complete the additional
   discovery, join other parties, amend the pleadings, or file a motion.

2. Motions to Compel or Prevent Discovery. Except for good cause shown, motions to
   compel discovery, motions for protective orders, motions to quash, motions to strike
   discovery responses, and similar motions must be filed no later than seven days after
   the close of fact discovery or the close of expert discovery, whichever deadline is
   relevant. If additional discovery is compelled by the court after the relevant deadline
   has passed, the court may enter such additional orders relating to discovery as may be
   appropriate.

3. Status Conferences. The court has scheduled a status conference after (or close to) the
   close of fact discovery for case management purposes. Any party who reasonably
   believes that a status conference will assist in the management or resolution of the case
   may request one from the court upon reasonable notice to opposing counsel.

4. Additional Conferences. Upon request of counsel, or at the court’s own initiative,
   additional case-management or status conferences may be scheduled.

5. Early Resolution of Issues. The court recognizes that, in some cases, resolution of one
   or more preliminary issues may remove a significant impediment to settlement or
   otherwise expedite resolution of the case. Counsel are encouraged to confer and jointly
   advise the court of any such issues.

6. Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.

7. Discovery Disputes. In the event counsel encounter a discovery dispute, they are
   encouraged to request a hearing or telephone conference with the court before filing a
   discovery motion.

                                                       /s/ Indira Talwani
                                                       United States District Judge

                                                 By: /s/ Carolina DaSilva
Date: October 11, 2016                                  Deputy Clerk

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